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VERDIC'I` OF THE ]URY
We, the jury, have answered the foregoing special issues in the manner indicated in this

verdict form, and returned these answers into Court as our verdict.

Date ~2//(///0 9

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FOREPERS€§N

 

U.S. DRSTRICT COUR'I`
NORTHERN D!S'I`RIC'I` OF TEXAS

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